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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



   In re: Oil Spill by the Oil Rig                               MDL No. 2179
          “Deepwater Horizon” in the Gulf
          of Mexico, on April 20, 2010
                                                                 SECTION: J
   This Document Relates to:
                                                                 JUDGE BARBIER
                     No. 12-970
                                                                 MAGISTRATE SHUSHAN



                         DECLARATION OF STEPHEN J. HERMAN

        I, Stephen J. Herman, respectfully declare, under penalty of perjury, that the following is
true and correct to the best of my knowledge, information and belief:

    1. I am licensed to practice law in the State of Louisiana, the United States District Court
        for the Eastern District of Louisiana, the U.S. Fifth Circuit Court of Appeals, and the U.S.
        Supreme Court.

    2. James Parkerson Roy and I were appointed by the Court to serve as Co-Liaison Counsel
        for Plaintiffs in MDL No. 2179 and Co-Lead Class Counsel for the Economic & Property
        Damages Settlement Class.

    3. I have previously submitted a Declaration dated July 23, 2012 [Doc 7104-5], a
        Declaration dated April 1, 2013 [Doc 9087-3], and a Declaration dated November 5,
        2013 [Doc 11804-1], which are respectfully incorporated by reference herein.

    4. This Declaration is submitted in response to any implication that the PSC insisted upon a
        class settlement.1




        1
          See GODFREY DECLARATION (Nov. 7, 2013) [Doc 11818-2], pp.3-4, ¶¶ 7, 9; BLOOM DECLARATION (Nov.
7, 2013) [Doc 11818-1] p.3, ¶10.
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    5. While I believe, as stated in my July 2012 Declaration and for all of the reasons that have
        been submitted by Class Counsel both to the District Court and to the Court of Appeals,
        that the Economic & Property Damages Class Settlement fully complies with all of the
        requirements of both Rule 23(b)(3) and Rule 23(e) – and while it is true that the PSC
        always insisted that any settlement would have to be applied objectively, transparently,
        and consistently, by an independent administrator appointed by and subject to the
        supervision of the Court – I, speaking for the PSC, communicated at the outset a strong
        desire for a voluntary contractual settlement program, as the PSC was unwilling to enter
        into a settlement that would be delayed pending and conditioned upon formal and final
        approval under Rule 23.2

    6. Mr. Lennard, speaking for BP, responded that BP was unwilling to enter into a settlement
        that did not offer BP the potential opportunity to obtain a broad and binding class-wide
        release.

    7. The Parties therefore agreed to a settlement that would include both components. The
        Parties would seek full and final approval under Rule 23. In the meantime, and at the
        same time, a Settlement Program and Trust would be established to accept, process and
        pay the claims of eligible Claimants under an Individual Release.3 In the event that
        formal and final approval under Rule 23 were rejected by either the District Court, the
        Court of Appeals, or the Supreme Court, the Settlement Program and Trust would
        continue to process and pay all claims that had been submitted.4

    8. I also disagree with the implication that the Settlement Agreement, as interpreted and
        applied by the District Court and the Claims Administrator, has treated or would treat
        “two jet ski rental shops just down the beach from each other” in materially different

        2
          I believe that this discussion took place in Chicago on October 17th or 18th of 2011. Also present was
Elizabeth Cabraser for the PSC.
        3
          See, e.g., SETTLEMENT AGREEMENT, Section 4 (establishing the Deepwater Horizon Court
Supervised Settlement Program, a Transition Program, and a Process for Making Claims); Section 5.12
(establishment of a Settlement Trust); Section 21.2 (severability clause); Section 26.1 (regarding the
binding effect of the Agreement on the Parties); and Exhibit 26 (Individual Release).
        4
            See SETTLEMENT AGREEMENT, Section 21.3.
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